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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

TAYLOR CARROLL, INDIVIDUALLY            * CIVIL ACTION NO. 3:16-cv-00537-SDD-RLB
AND ON BEHALF OF ALL OTHERS             *
SIMILARLY SITUATED,                     *
                    Plaintiff,          *
                                        *
VERSUS                                  * JUDGE SHELLY D. DICK
                                        *
SGS AUTOMOTIVE SERVICES, INC.,          *
                       Defendant.       *
                                        * MAGISTRATE RICHARD L. BOURGEOIS, JR.
                                        *
*************************************** *

                                             ORDER

        Considering the Joint Motion to Dismiss with Prejudice submitted by Plaintiff, Taylor

Carroll, and Defendant, SGS North America Inc.;

        IT IS HEREBY ORDERED that Joint Motion to Dismiss with Prejudice is GRANTED

and all claims are dismissed with each party to bear its own costs and attorney’s fees.
                                                      July
        Baton Rouge, Louisiana, this ________
                                       8th    day of January, 2021.


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                                                     __________________________________
                                                     DISTRICT JUDGE SHELLY D. DICK




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